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                                          UNITED STATES DISTRICT COURT
                                                                       for the
                                                                District of Colorado

             In the Matter of the Search of
                                                                     )        Case No.        19-sw-5784-SKC
 3605 Table Mesa Drive M256, Boulder, Colorado                       )
 80305 and certain Devices previously seized, more                   )
 fully described in Attachment A, attached hereto,                   )
                                                                     )
                                                                     )
                                                                     )

                                             APPLICATION FOR A SEARCH WARRANT

        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that there is now concealed on the following person or property
located in the State and District of Colorado              (identify the person or describe property to be searched and give its location):

          SEE “ATTACHMENT A”, which is attached to and incorporated in this Application and Affidavit

          The person or property to be searched, described above, is believed to conceal (identify the person or describe the
property to be seized):

          SEE “ATTACHMENT B”, which is attached to and incorporated in this Application and Affidavit

          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                    X evidence of a crime;
                    X contraband, fruits of crime, or other items illegally possessed;
                    X property designed for use, intended for use, or used in committing a crime;
                          a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of 18         U.S.C. §§ 247 and 249, and the application is based on these facts:

          X Continued on the attached affidavit, which is incorporated by reference.
              Delayed notice of       days (give exact ending date if more than 30 days:                                   ) is requested
              under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

                                                                                s/Justin Stern
                                                                                                       Applicant’s signature

                                                                                              Justin Stern Special Agent
                                                                                                        Printed name and title

Sworn to before me and:              signed in my presence.
                                     submitted, attested to, and acknowledged by reliable
                                                                                    iable electroni
                                                                                          electronic
                                                                                                 nicc m
                                                                                                 ni   means.
                                                                                                       ean
                                                                                                         ns.

Date:    08/02/2019
                                                                                                       Judge’s
                                                                                                         d     signature

City and state: Denver, CO                                                               0DJLVWUDWH-XGJH6.DWR&UHZV
                                                                                                       Printed name and title
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                                             ATTACHMENT A

                          DESCRIPTION OF LOCATIONS TO BE SEARCHED

       The Subject Premises is located at 3605 Table Mesa Drive M256, Boulder, Colorado 80305. The

Subject Premises is more particularly identified as an apartment unit located in an apartment complex known as

the Boulder Creek Apartments. The Boulder Creek Apartments complex is located north of the intersection of

Table Mesa Drive and Stanford Avenue in Boulder, Colorado. The Subject Premises is located in building M

on the second floor, has a brown door, knocker, and electronic lock. A brown sign identifies the apartment as

unit M256.


       The Devices previously seized from the Subject Premises are identified as follows:


              1.      Huawei mobile broadband LTE USB stick

              2.      9 CDRs

              3.      Verizon Kyocera blue cell phone

              4.      Sylvania portable DVD player

              5.      Apple iPhone model A15133, IMEI 358751058882263

              6.      Black 16GB Lexar USB thumb drive

              7.      Blue 16GB Lexar USB thumb drive

              8.      Black 32 GB Infinitive USB drive marked “CP”

              9.      Black 32 GB Sandisk USB thumb drive

              10.     Black 16 GB Sandisk USB thumb drive

              11.     LG 7+ cellular telephone having phone # 317-777-1511, IMEI 357568091544259

The Devices are currently in FBI custody at the FBI Denver Division’s Boulder Off-site, located within the

Boulder County Sheriff’s Office, 5600 Flatiron Parkway, Boulder, Colorado, 80301.




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                                     ATTACHMENT B

                         DESCRIPTION OF ITEMS TO BE SEIZED AND SEARCHED

The following items, located within the Subject Premises or the Devices, described in Attachment A, that constitute
evidence of the commission of, contraband, the fruits of crime, or instrumentalities of violations of Title 18, United
States Code, Section 247, Damage to Religious Property or Obstruction of Persons in the Free Exercise of Religious
Beliefs; and Title 18, United States Code, Section 249, Hate Crimes (“Subject Offenses”):

1. Images, videos, visual images and depictions relating to the Subject Offenses and/or showing intent or plans to
   commit acts of violence, damage religious property or forcefully obstruct free exercise of religion or evincing
   hatred or bias against individuals or groups of individuals due to their actual or perceived race, color, religion, or
   national origin;

2. Any and all records, information, notes, software, documents, records or correspondence, in any format and
   medium relating to the Subject Offenses and/or showing intent or plans to commit acts of violence, damage
   religious property or forcefully obstruct free exercise of religion or evincing hatred or bias against individuals or
   groups of individuals due to their actual or perceived race, color, religion, or national origin;

3. Any and all information, notes, software, documents, records, or correspondence, in any format and medium,
   pertaining to violations of the Subject Offenses and/or showing intent or plans to commit acts of violence,
   damage religious property or forcefully obstruct free exercise of religion or evincing hatred or bias against
   individuals or groups of individuals due to their actual or perceived race, color, religion, or national origin;

4. Any and all information, notes, documents, records, or correspondence, in any format or medium, concerning
   communications about the Subject Offenses and/or any intent or plan to commit acts of violence, damage
   religious property or forcefully obstruct free exercise of religion or evincing hatred or bias against individuals or
   groups of individuals due to their actual or perceived race, color, religion, or national origin;

5. Any and all information, notes, documents, records, or correspondence, in any format or medium, concerning
   Internet activity related to the Subject Offenses;

6. Any and all information, records, documents, invoices and materials, in any format or medium, that concern any
   accounts with an Internet Service Provider pertaining to violations of the Subject Offenses and/or showing intent
   to commit acts of violence;

7. Any and all address books, names, and lists of names and addresses of individuals who may have been contacted
   by use of the computer or by other means for the purpose of committing the Subject Offenses;

8. Any and all information, notes, documents, records, or correspondence, in any format or medium, concerning
   membership in groups, clubs, or services that advocate hatred or bias against individuals or groups of individuals
   due to their actual or perceived race, color, religion, or national origin;

9. Any and all cameras, film, videotapes or other photographic equipment that constitute evidence of the
   commission of, contraband, the fruits of crime, or instrumentalities of the Subject Offenses;

10. Any and all information, records, documents, invoices and materials, in any format or medium, that concern any
    accounts with an Internet Service Provider pertaining to the Subject Offenses;

11. Any and all information, records, documents, invoices and materials, in any format or medium, that concern e-
    mail accounts, online storage, or other remote computer storage pertaining to the Subject Offenses;



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12. Any and all information, documents, records, photos, videos, or correspondence, in any format or medium,
    pertaining to occupancy or ownership of the premises and use or ownership of computer equipment found in the
    premises, or that aid in the identification of persons involved in the Subject Offenses;

13. Credit cards, credit card information, bills and payment records pertaining to violations of the Subject Offenses;

14. Descriptions of time, date, locations, items, or events showing or tending to show the commission of, or
    connecting or tending to connect a person to violations of the Subject Offenses;

15. Computer(s), digital storage media, or digital storage devices, any physical object upon which computer data can
    be recorded, computer hardware, computer software, servers, computer related documentation, computer
    passwords and data security devices, gaming devices, tablets, flash drives, volatile data, digital communications
    devices, cellular telephones, cameras, videotapes, video recording devices, video recording players, and video
    display monitors, digital input and output devices such as keyboards, mouse(s), scanners, printers, monitors,
    electronic media and network equipment, modems, routers, connection and power cords, and external or
    connected devices used for accessing computer storage media that was used to commit or facilitate commissions
    of the Subject Offenses; and

16. For any computer, computer hard drive, or other physical object upon which computer data can be recorded
    (hereinafter, COMPUTER) that is called for by this warrant, or that might contain items otherwise called for by
    this warrant, including the Devices described in Attachment A:

       a. evidence of who used, owned, or controlled the COMPUTER at the time the items described in this
          warrant were created, edited, or deleted, such as logs, registry entries, configuration files, saved
          usernames and passwords, documents, calendars, browsing history, user profiles, e-mail, e-mail contacts,
          "chat" or instant messaging logs, photographs, and correspondence;

       b. evidence of software that may allow others to control the COMPUTER, such as viruses, Trojan horses,
          and other forms of malicious software, as well as evidence of the presence or absence of security
          software designed to detect malicious software;

       c. evidence of the lack of such malicious software;

       d. evidence of the attachment to the COMPUTER of other storage devices or similar containers for
          electronic evidence;

       e. evidence of counter-forensic programs (and associated data) that are designed to eliminate data from the
          COMPUTER;

       f. evidence of how and when the COMPUTER was used or accessed to determine the chronological context
          of computer access, use, and events relating to crime under investigation and to the computer user;

       g. records of or information about Internet Protocol addresses used by the COMPUTER,;

       h. evidence indicating the computer user’s state of mind and/or motive as it relates to the Subject Offenses;

       i. passwords, encryption keys, and other access devices that may be necessary to access the COMPUTER;

       j. documentation and manuals that may be necessary to access the COMPUTER or to conduct a forensic
          examination of the COMPUTER;

       k. contextual information necessary to understand the evidence described in this attachment;

       l. volatile data necessary to preserve evidence prior to powering-off and unplugging a running computer.

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       m. records and information containing child erotica, including texts, images and visual depictions of child
          erotica;

       n. any and all information, notes, software, documents, records, or correspondence, in any format and
          medium, pertaining to the Subject Offenses; and

       o. items otherwise described above in paragraphs 1-14 of this Attachment B.

DEFINITIONS:

17. As used above, the terms "records" and "information" include all of the foregoing items of evidence in whatever
    form and by whatever means they may have been created or stored, including any form of computer or electronic
    storage (such as hard disks or other media that can store data); any handmade form (such as writing, drawing,
    painting); any mechanical form (such as printing or typing); and any photographic form (such as microfilm,
    microfiche, prints, slides, negatives, videotapes, motion pictures, or photocopies).

18. As used above, the terms “computers” or “digital storage media” or “digital storage devices” may be used
    interchangeably, and are intended to include any physical object upon which computer data can be recorded as
    well as all types of electronic, magnetic, optical, electrochemical, or other high speed data processing devices
    capable of performing logical, arithmetic, or storage functions, including desktop and laptop computers, mobile
    phones, tablets, server computers, game consoles, network hardware, hard disk drives, RAM, floppy disks, flash
    memory, CDs, DVDs, and other magnetic or optical storage media.




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